Case 2:OO-cV-02608-STA-tmp Document 368 Filed 07/06/05 Page 1 of 3 Page|D 366

By___ ___,.....D;.»
IN THE UNITED STATES DISTRICT COUR?£o

FoR THE WESTERN DISTRICT oF TENNESS§§:;M_ -s P.H 2= 15

 

 

WESTERN DIVISION
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MARILYN JOHNSON, et al., ) OF m
)
Plaimiffs, ) case Nos; 00-2608 D P ~/
) 04-2017 D P
)
vs. )
)
CITY OF MEMPHIS, )
)
Defendant. )
)
FLORENCE BILLINGSLEY, et al., )
)
Plaintiffs, )
)
vs. ) Case No.: 04-2013 D A
)
CITY OF MEMPHIS, )
)
Defendant. )

 

ORDER ON MOTION FOR ORDER DIRECTING COUNSEL FOR THE NON-PARTY
WITNESS TO CEASE INTER.F`ERING WITH ORA_L DEPOSITION

 

Before the Court is Plaintift’ s motion for an order directing counsel for the non-party Witness
to cease interfering with oral deposition Plaintiff’s motion was filed September 3, 2004. This
matter is set for trial on Julyl l, 2005 . Accordingly, the depositions have been concluded and the
motion is hereby dismissed as moot.

IT ls So oRDERED this é““ day of

 
 
   

TED STATES DISTRICT JUDGE

Thls document entered on the docket sheet in cor nance
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Case 2:OO-cV-026O8-STA-tmp Document 368 Filed 07/06/05 Page 3 of 3 Page|D 368

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Honorable Bernice Donald
US DISTRICT COURT

